Case 2:05-cr-20200-SH|\/| Document 19 Filed 07/26/05 Page 1 of 2 Page|D 27

IN THE UNITED STA.TES DISTRICM’£L D'c‘
FOR THE WESTERN DISTRICT OF T?EEIR§§§ PH 5:|'

WESTERN DIVISION

 

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Plaintiff,
CR. NO. OB-ZOZOO-Ol-Ma

VS.

ANDRE ADAMS (WRISTER) ,

v-._/-._¢-._r-..'\_»~_,z~_/V

Defendant.

 

ORDER ON CH.ANGE OF PLEA

 

This cause came on to be heard on July 22, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Andre Adams (Wrister), appearing in person and with
retained counsel, Mr. Leslie L. Ballin.

With leave of the Court, the defendant entered a plea of
guilty to Counts l & 2 of the Indictment. Plea colloquy was held
and the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, October 21, 2005
at 10:30 a.m.

The defendant is remanded to the custody of the United States
Marshal.

44.#\

ENTERED this the day of July, 2005.

JAW‘L_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Th_is does mem entered on the docket 35th in compliance
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UNITD sATES ISTRIC COURT - WETERN DISITRCT oF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
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Honorable Samuel Mays
US DISTRICT COURT

